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 Fill in this information to identify the case:
 Debtor name CFRA Holdings, LLC
 United States Bankruptcy Court for the: MIDDLE DISTRICT OF FLORIDA                                                                                  Check if this is an

 Case number (if known):                8:20-bk-03608-CPM                                                                                             amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 IHOP Franchisor,                Alicia Beltran                                         Contingent                                                                  undetermined
 LLC
 450 North Brand                 Alicia.Beltran@din
 Boulevard                       ebrands.com
 7th Floor
 Glendale, CA 91203
 IHOP House of                   Alicia Beltran                                         Contingent                                                                   undetermined
 Pancakes, Inc.
 450 North Brand                 Alicia.Beltran@din
 Boulevard                       ebrands.com
 7th Floor
 Glendale, CA 91203
 IHOP House of                   Alicia Beltran                                         Contingent                                                                   undetermined
 Pancakes, LLC
 450 North Brand                 Alicia.Beltran@din
 Boulevard                       ebrands.com
 7th Floor
 Glendale, CA 91203
 IHOP Leasing, LLC               Alicia Beltran                                         Contingent                                                                   undetermined
 450 North Brand
 Boulevard                       Alicia.Beltran@din
 7th Floor                       ebrands.com
 Glendale, CA 91203
 IHOP Restaurants,               Alicia Beltran                                         Contingent                                                                  undetermined
 LLC
 450 North Brand                 Alicia.Beltran@din
 Boulevard                       ebrands.com
 7th Floor
 Glendale, CA 91203
 Raymond James                   H. Fred Coble, Jr.                                     Contingent                                                                   undetermined
 Bank, N.A.
 710 Carillon                    Fred.Coble@Raym
 Parkway                         ondJames.com
 Saint Petersburg, FL            727-567-1585
 33716




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 Debtor    CFRA Holdings, LLC                                                                                 Case number (if known)         8:20-bk-03608-CPM
           Name

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 Valley National Bank            Robert Kochenthal                                      Contingent                                                                   undetermined
 4790 140th Avenue
 North                           rkochenthal@valle
 Clearwater, FL                  y.com
 33762                           973-872-4562




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